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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                         ______

MICHAEL L. JOHNSON,

                       Petitioner,                     Case No. 1:18-cv-614
v.                                                     Honorable Gordon J. Quist
TONY TRIERWEILER,

                       Respondent.
____________________________/

                        ORDER TO PROCEED IN FORMA PAUPERIS

               This is a habeas corpus action brought by a state prisoner under 28 U.S.C. § 2254.

Petitioner has requested leave of court to proceed in forma pauperis (ECF No. 2) under 28 U.S.C.

§ 1915(a)(1) and has filed an affidavit of indigence. It reasonably appears that paying the cost of

this filing fee would impose an undue financial hardship. Prows v. Kastner, 842 F.2d 138, 140

(5th Cir. 1988). Accordingly,

               IT IS ORDERED that Petitioner’s application for leave to proceed in forma

pauperis (ECF No. 2) is GRANTED. Petitioner may commence this action without prepayment

of fees or costs or security therefor. Any pleadings herein served by the United States Marshal

shall be at the expense of the United States government.

               IT IS FURTHER ORDERED that Petitioner shall serve upon Respondent or, if

an appearance has been entered by an attorney, upon the attorney, a copy of every further pleading

or other document submitted for consideration by the Court. Petitioner shall include with the

original paper to be filed with the Clerk of the Court a certificate stating the date a true and correct

copy of any document was mailed to respondent or the attorney(s). Any paper received by a district
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judge or magistrate judge which has not been filed with the clerk or which fails to include a

certificate of service will be disregarded by the Court.



 Dated: June 19, 2018                                 /s/ Ray Kent
                                                      Ray Kent
                                                      United States Magistrate Judge




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